                                                                                 Case 2:22-cv-08506-KS         Document 28     Filed 04/18/23      Page 1 of 1 Page ID #:229



                                                                                  1   JULIA AZRAEL (SBN 109049)
                                                                                         Email: jazrael@nemecek-cole.com
                                                                                  2   NEMECEK & COLE                                                         JS-6
                                                                                      A Professional Corporation
                                                                                  3   16255 Ventura Boulevard, Suite 300
                                                                                      Encino, CA 91436-2300
                                                                                  4   Tel: (818) 788-9500 / Fax: (818) 501-0328
                                                                                  5   Attorney for PROGRESSIVE SELECT INSURANCE COMPANY
                                                                                  6
                                                                                  7
                                                                                                                UNITED STATES DISTRICT COURT
                                                                                  8
                                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                  9
             16255 Ventura Boulevard, Suite 300, Encino, California 91436-2300




                                                                                 10
                                                                                      STEVEN MORA                                           Case No.: 2:22-cv-08506 KS
                 TELEPHONE (818) 788-9500 FACSIMILE (818) 501-0328




                                                                                 11                                                         Assigned to the Hon. Karen L.
                                                                                                              Plaintiff,                    Stevenson
NEMECEK & COLE
                           A PROFESSIONAL CORPORATION




                                                                                 12                                                         Complaint Filed: June 2, 2022
                                                                                                  vs.
                                                                                 13
                                                                                      PROGRESSIVE SELECT INSURANCE                          ORDER DISMISSING CASE WITH
                                                                                 14   COMPANY, et al.                                       PREJUDICE [PROPOSED]
                                                                                 15                           Defendant.
                                                                                                                                            Trial Date: August 22, 2023
                                                                                 16
                                                                                 17               The court, having considered the stipulation of counsel regarding the
                                                                                 18   settlement of the case and the proposed dismissal of the case with prejudice, now
                                                                                 19   dismisses the complaint and all claims with prejudice.
                                                                                 20               IT IS SO ORDERED.
                                                                                 21
                                                                                      Date: April 18, 2023
                                                                                 22
                                                                                                                                  By:       _____________________________
                                                                                 23
                                                                                                                                            KAREN L. STEVENSON
                                                                                 24
                                                                                                                                            CHIEF U.S. MAGISTRATE JUDGE
                                                                                 25
                                                                                 26
                                                                                 27
                                                                                 28
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                                                                                                              ORDER DISMISSING CASE WITH PREJUDICE [Proposed]
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